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Flynn Files - Ultimate Warrior Interview Part III

were lower-card guys and they were really just good people. The ring crew guys were better
people than the talent, Palways got along best with them and treated them with respect. (me
person's name you would recognize is Owen Hart—Owen Hart was a really good guy. He had
his head on straight. Jimmy Powers was a good guy, Mark Calloway [Undertaker], certainly
one of those deserving great respect for what he's accomplished in the business, was a really
great person. Mark is a great example, for me, of what I was mentioning just a second ago, I
was the first guy te wark with him, Even though Ultimate Warrior was over as a huge baby-
face, the ticket buyers dug [Undertaker's] gimmick. I could have, with the position I had, been
an a-hole and worked in unknown ways to curb that. Instead of trying to damage his gimmick
though, as many in the business would have done, I embraced it and worked with him to get it
over as the people wanted to have it over, He was going to be a great talent and I was inspired
by that, It made me want to better my own. Too many guys in the business spend toa much
tline conniving ways to make someone‘else look worse, rather than spending that time on
becoming better themselves. You asked about politics earlier—this is politics ta me.

The people who have their heads up their asses the farthest and have really off-putting
unhealthy egos are Vinee and Hogan. They really do deserve each other. They are cons all the
wey through and weirdly get off living their lives that way.

FLYNN | : Hf wrestling were real, who would the champion be?

WARRIOR| : Tt would have been Haku. He had a way of going into the zone that was
really superhero-like,

FLYNN]: Have you ever read any of the wrestling websites? What's your take on the
wrestling press?

WARRIOR] : Idon't spend the time. I get about 500 emails a day and people'do fill me in
on what's going on though. There’s-a rumor going on right now that I'm going te goto NWA
or something like that. I found out about that through emails then responded at my site
through a post. One of the wrestling sites, whenever I went to a wrestling site, is |

www wrestling com. Like when people die: If | hear a rumor that somebody died, I gota
iwrestling,com. Bob Ryder is-a guy over there who didian interview with mea long time ago.
We're not on the outs with one another. He really hasn't ever said anything belittling about
me or What I'm doing. But some of his other writers—he hag a whole bunch of them over
there—they have. I'm not so much that everybody should be agreeing with me, but they don't
even take the chance to read what I'm writing. They just dismiss it out of hand.

One thing is for sure none of them have taken the time to really know who Tam and whatI am
about today. [mean what do you do when people don't want to accept what is true? I defend
myself and my career when I think I have to, but I'm never so bothered by it that I doubt
myself or what I have done or what I am doing today. I know I did what they will only ever
dream about doing. These are the little people who have regrets at the end of their wasted
lives.

FLYNN | : I've noticed that many wrestlers live a paradoxical lifestyle: So, on the surface
ey seem a paragon of health. But when you go beyond the surface, om the inside their
bodies...

WARRIOR] : They're rotting,
FLYNN |:...are filled with drugs, They're rotting. They're battling inner demons..,

WARRIOR): Hey, when we are young it’s built into us to think we'll never die, That you're
invineible. And truth is you, your body, can get away with behavior when you are younger that
later in your life you and, again, your body can't take, There are ways other than hard work,
diet, and discipline to achieve a healthy look on the outside, yet be messed up and damaged
on the inside, This is what definitely happened to some of the guys I worked with who have
since died. They get some juice and keep taking itand continue, as they always have, to
practice unhealthy dietary habits. None of them really exercised hard. When they were young
they could getaway with it. At 40-50 years of age, you throw in a bit of slimy street drugs and
the fact you haven't consistently practiced healthy exercise and diet habits and BAM!—the
body says, "No more."

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Flynn Files - Ultimate Warrior Interview Part II

Also, in the business it’s easy te get scripts for potent pain-pilis and the like. In every arena
that they go ta there is a doctor there that's a big fan willing to write scripts for whatever the
talent may ask for. Add to it street drugs and booze and fatigue and eventually there's a wall
one is going to hit and hit hard, And, you are right, the inner demons. It takes quite bit of level
headedness to put celebrity and life on the road into perspective. You have to be grounded in
solid, genuine ways.

FLYNN |: You wrestled with several of these guys who are obviously no longer with us—

Rick Rude, Curt Hennig, Kerry von Erich. Do you think there is something about the lifestyle
that leads to self-destruction?

WARRIOR| : Ultimately each individual is solely responsible for destroying their own life.
Tthink there are always tell-tale signs one gets warning them that “Hey, you better take a hard
look at what you are doing.” Typically, self-destruction happens in stages and each person is
given ample opportunity to get their act together. You can't keep tempting fate without there
eventually being a serious, negative consequence,

Shit, the autopsies came back and a lot of those guys died from street drugs. Hennig died from
a coke overdose. Rick Rude died from [liquid] ecstasy. Davey Boy Smith was doing cocaine
and ungodly amounts of growth hormone and all kinds of different steroids.

Look, these guys who have died over the lastfew years didn't just have that vision of death at
that final moment of their life. The further and further out there they got with destructive
behavior they knew inside themselves, many, many times-along the line, that there wasa
price they were going to pay, They were doing the drugs to run from something. Something
they didn't like about themselves, their lives, the way things had turned out. The more drugs
they did the greater the escape from the reality they didn’t like. Unfortunately, there are no
success stories down that road. None, Not one. You don't drug yourself into a reality you
would like better. You have to fix the one you are living. Too’ bad that fact isn't enough to have
people snap out of itand get their life act together before it is too late,

People have criticized me about what I wrote in some posts when some of those guys died—
like I didn't have any sympathy. Anybody who wants to can read them. Frankly, I'm sick of all
the sympathetic praise we throw around adults who screw up their lives. Life is about finding
the strength day in and day outto make it work. Most people do. I'd rather praise them than
people who don't. Weare a society, today, where we pathetically place praise of vice above
praise of virtue and, as an adult, I'm not okay with it My kids, if no one else, deserve better
out of me, deserve better out of the world they will have to grow up in.

FLYNN | : What did you think of Bret Hart punching Vince McMahon after the infamous
“Montreal Screwjob"?

WARRIOR |: I wasn't there at the time. I would say first that he did what many others
wanted to do. CH course, the cireumstances of mistreatment were more blatant and radical,

Not to take anything away from Bret, but other guys would have kicked the crap out of Vince
plenty if he had done something like that to them. Vince, in subtle, covert ways, was always
screwing people over. His entire business, in many ways, has been built on the backs of
people he's screwed. I expect that Vince thought Bret wouldn't go so far as fisticuffs. He
probably thought his well-honed ability to talk his way out of talent disgruntlement would be
enough.

That said, Ido believe that over time Bret himself came to think the punch wasn’t enough, He
frequently voiced his aggravation about having ended up over at WCW and how his career
ended there and how he wasn't used right over there, all of that the direct result of Vince
screwing him and sorta shortchanging him, to hear him tell it, on a brilliant end to his
otherwise brilliant career. He bas many times over the years since then hinted about greater
repercussions, threatening legal action, etc. My counsel and I gave him an opportunity to go
an the record during the discovery phase of my litigation, do a deposition. He told me he
would over a phone call we had, then he backed out when we went to Canada to depose Davey
Boy. I think he'd have a better sense of having genuinely righted the wrong Vince imposed on
him if he had pursued the litigation he threatened.

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Flynn Files - Ultimate Warrior Interview Part [II

FLYNN |: What's your take on the whole controversy over steroids in sparts? When you
were wrestling, what percentage of guys were taking steroids or human growth hormone?
Remembering the size of guys like Hercules Hernandez, Don Muraco, and Superstar Billy
Graham, I'd imagine it's less now, Do you agree?

WARRIOR |: Steroids. Talking about them is always a Catch-22. They aren't all bad and

they aren'tall good. Athletes are going to do them—or whatever elsee—to be the best at what
they da,

But, let's face it, bodybuilding and wrestling is more cireus like—people want to see the freaks.
The guys today are definitely gassed to the max. Wrestlers and bodybuilders, Have you picked
up.a bodybuilding magazine lately? They are like recipe books on how to commit suicide
using steroids. And they have guys who've lost kidneys and had organ transplants writing the
articles giving advice. Like killing yourself with the juice is badge of honor!

[really think the thicker lock of past wrestlers really has more to do with how people used to
train and eat—the basics and good food, Skin on guys today is thinner. Nutrition and even
training has been so broken down into little, itty-bitty specializations, I really think it's
created different looking physiques. I still believe in the basics and just good eating of healthy
foods. Not the machines so much or the endless supplementation programs that are out there.
Tt's just a bunch of junk to waste money on. But it’s hard to get a young kid who wants instant
muscles to grasp that. Then you throw in all the exotic steroids there are today. Growth
Hormone is used by most all the guys. When I was. at WCW the guys were flying to the
Bahamas to get physicals to cover some legal loophole allowing them to get GH, then getting a
whole year's supply Fed-Exed to them, all under the guise of anti-aging. I think there’s too

much they do not know about growth hormone and what kind of hell it plays on your internal
organs.

Hut overall, I really think the difference in look of the guys-from the past has more to do with
how they trained and ate, Bottom line is, there is differences between use and abuse and it's
obvious that many guys have crossed the line. For some it will take getting to know the inside
of a casket before they come to terms with that.

FLYNN |: What is it about wrestling? There does seem to be a disproportionate number of
wrestlers that die young despite the fact that they look like they are the absolute symbols of
health. Now, what is it about the wrestling lifestyle that brings that on?

WARRIOR): I saw an article on world class bicyclers, and it was amazing to me how many
of those guys have died. I never knew. And you'd think, your first thought is, that these guys
would have really great hearts—and yet most of them died by heart attacks. The only
conclusion you can come to is that they are doing some extreme things with drugs—blood
doping is what the article alleged.

Weill, again, like I said earlier, it notso much the lifestyle itself, it's the way the guys go about
mishandling the lifestyle and coming to abuse it. If I had to relate anything to the lifestyle it
would be to point out how the demands of being a pro-wrestler differ from the lifestyle of
other organized sports pro-athletes. But, still, a cheap excuse is a cheap excuse. There is no
season. You go year round, If part of your gimmick is your physique, your body look, then that
demands a different approach than a big fat guy who can sleep and eat pizza all day, doesn't
have to worry about scheduling workouts or getting good food. Also, and this is probably a big
contributing factor as to how guys get messed up—other than the relationships you have with
othertalent you want to be around—you basically travel alone and as long as you make it to
the building to have your match, you don’t answer to anyone about what you do. And with the
travel you do, you can fall into a bad habit of burning the candle at both ends. You are in
different, and often fun and unique, places almost every night and you ean come to see work
as, well, like being constantly on vacation. I guess that might be a way to-say it. And, hey, we
all cut corners on sleep, recuperation and healthy living when we are on vacation, I.dan't
know if that rnakes sense, but that's how I'd describe it.

To cover up for lackluster energy it’s easy to fall into the habit of abusing stimulants, pain
killers, and those things. What is‘also different is that there are no guidelines to how, a5 a
representative of a company, you should conduct yourself. Ob, Titan will say they have rules,

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Bullshit. There are no miles. Not that I'm saying there should be any, but the truth is some
guys don’t have the discipline to keep their act together. Neither are there chaperons like
other organized sports organizations would have to keep the guys in line, keep them out of
trouble:

Another factor is that pro-wrestlers are known. They get huge exposure off the TV, and that
has people who watch it fawning all over them wherever they go. It's easy to give into the
temptations on the road. Many of the guys screw around, even those with families. Soon
enough, you start believing because of what you are and who you are, you should be able to
live both lifestyles. Have your cake and eat it too. And when you go home and things aren't as
exciting as they were on the road you start laying the blame on someone else and criticize
them because, in your mind, they don't understand you, It becomes a vicious cycle and all the
ups and downs, natural-and pharmaceutically induced, can really throw your life out of
whack—unless you have great self-discipline.

Wrestling fans, visit the rest of Flynn Files—you'll find something you like. The fourth and
Jinal instaliment of the FiynnFiles.com interview of the Uliimate Warrior appears
fomorrow. Warrior discusses palitics—George W. Bush, John Kerry, Jesse Ventura, Arnold
Schwarzenegger, the late Ronald Reagan—the Great Books, The Rock, Vince McMahon, and
Erie Bischoff. All that, plus Warrior answers the all-time locker-room question: Dude, how
much can you bench?

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